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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

BARBARA STEWART, Civil Action: 1:19-cev-05966-NRB
Plaintiff.
Vv. | DEFENDANT MICHELE STEWART’S
| FIRST REQUEST FOR PRODUCTION
MICHELE STEWART a/k/a Michele OF DOCUMENTS TO PLAINTIFF
Bouman-Stewart, BARBARA STEWART
Defendant.
TO: David P. Marcus, Esq.

Marcus & Cinelli, LLP
8416 Main Street
Williamsville, New York 14221
Edward P. Yankelunas, Esq.
HoganWillig
2410 North Forest Road, Suite 301
Ambherst, New York 14068
PLEASE TAKE NOTICE that Defendant Michele Stewart (‘Defendant’) hereby
requests that Plaintiff Barbara Stewart (‘Plaintiff’) produce the documents listed below and/or
permit them to be inspected and copied at the offices of Meyner and Landis LLP within thirty
(30) days as set forth by Rule 34 and as ordered by the Court on October 3, 2019.
This request should be deemed continuing as to require the supplemental production of

documents if the Plaintiff obtains additional documents responsive to this request between the

time for production of documents and the date fixed for trial.

 

 

 
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Dated: October 21, 2019

 

 

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MEYNER AND LANDIS LLP
Attornevs for Defendant,
Michele Stewart

By: /s/ David B. Grantz

 

David B. Grantz

 
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I. DEFINITIONS

A. “Action” shail mean the above-captioned matter.
B. “Bil” shall mean Plaintiff's ex-husband William P. Stewart, Jr.
on “Communication,” “communications,” “communicate,” and

“communicated” shall mean any oral, written, or recorded utterance, notation, or statement of
any nature whatsoever, by and to whomsoever made, including, but not Hmited to,
correspondence, e-mails, voicernails, text messages, instant messages, oral or written
conversations, facsimiles, ietters, telegrams, cables, telexes, dialogues. discussions,
negotiations, interviews, consultations, telephone calls, agreements, and other understandings,
among two or more persons. The term “communication” includes written summaries of any of
the foregoing communications.

Dz “DGBF” shall mean DGBF Holdings, Ltd.

bE. “Document” or “documentation” as used in this request means the original,
duplicate. copy or draft of any writing or recording of any nature whatsoever, whether set down
by handwriting, typewriting, printing, photo stating, photographic, magnetic impulse,
mechanical or electronic recording, or other form of data compilation. Without limiting the
foregoing, the term “document” includes any correspondence, memoranda, reports,
administrative files, notes, agreements, books, records, ledgers, diaries, logs, calendar notes,
computer printouts and programs, electronic mail (e-mails), press clippings. sworn or unsworn
statements of agents, investigators or witnesses, photographs, tape recordings, text message,
instant message or other writings or recordings, and logs and transcriptions thereof.

F, “Iglehart” shall mean attorney John Iglehart.

 

 

 
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G. “Jewelry” means any item of jewelry owned at any time by Plaintiff Barbara
Stewart, Topaze or DGBF.

H. “Relating te’ means concerning, relating to, reflecting, referring to, having a
relationship to, pertaining to, identifying, containing, pertinent to, setting forth, showing,
disclosing, describing, explaining, summarizing, evidencing, or constituting, directly or
indirectly, in whole or in part, or to be otherwise factually, legally or logically connected to the

subject matter of the particular Request.

I. “Topaze” shall mean Topaze Investments, Ltd.
J. “Trusts” shall mean the Gregory Stewart Irrevocable Trust, Lisa Stewart

Irrevocable Trust, Jeffrey Stewart Irrevocable Trust and the William P. Stewart, Hf Irrevocable
Trust.

Kk. “You” or “your” refers to Plaintiff Barbara Stewart and any of her agents,
employees, attorneys, representatives and all other persons acting (or who acted) or purporting
to act on her behalf.

Tr INSTRUCTIONS

I, These Requests are intended to include ail information in your possession, or
subject to your custody or control, whether directly or indirectly. Information is deemed to be
within your possession, custody, or control if:

a. it is within your possession;
b. itis within the knowledge or possession of any other person or entity and
you have the right to obtain the information from such person or entity;

c. it is contained in a document within your physical control; or

 

 

 
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d. it is contained in a document within the physical control of any other
person or entity, and you:
i. own the document in whole or in part;
ii. have a right by contract, statute, or otherwise, to use, inspect,
examine or copy that document on any terms: or
iii. have, as a practical matter, been able to use, inspect, examine, or
copy that document when you have sought to do so.

2. All grounds for an objection fo a Request shall be stated with specificity. Any
ground not stated in a timely objection is waived unless your failure to object is excused by the
Court for good cause shown.

3. If you believe that the use of any term in these Requests is ambiguous or if you
do not understand any of these Requests, definitions, or instructions, before asserting an
objection related thereto, you should immediately contact the undersigned and seek a
clarification.

4, Unless otherwise defined, the terms used herein should be read and construed in

accordance with the English language and the ordinary meanings and definitions attached

thereto.
5, i, for any reason, you are unable to produce in full any document requested:
a. Produce each such document to the fullest extent possible;
b. Specify the reasons for your inability to produce the remainder; and

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c. State in detail whatever information, knowledge, or belief you have
concerning the whereabouts and substances of each document not
produced in full.

6. If any document requested was at one time in existence, but is no longer in

existence, state for each document as to which that is the case:

a. The type of document;

b. The types of information contained therein;

c. The date upon which it ceased to exist;

d. The circumstances under which it ceased to exist:

e The identity of all persons having knowledge of the circumstances under

which it ceased to exist; and
f The identity of all persons having knowledge or who had knowledge of
the contents thereof.
7. For each document requested which you are unable to produce and which was at
any time within your possession, custody or control, or to which you had access at any time,

specify in detail:

a. The type of document (e.g., letter, memorandum);

b. The author of the document:

c. All recipients of the document and any copy thereof;

d. A summary of the information contained in the document:

e. The date on which you lost, relinquished, or otherwise ceased to have

possession, custody, control of, or access to the document;

 

 

 
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document, state:

 

 

a

Identify all persons having knowledge of the circumstances whereby you
lost, relinquished, or otherwise ceased to have possession, custody, or
control of, or access to the document; and

Identify all persons who have or have had knowledge of the contents of

the document, in full or in part.

&. If you seek to withhold or do withhold any document, in whole or in part, on the

basis that it is not subject to discovery, produce a list of all such documents and, as to each such

The type of document (e.g. letter, memorandum);

The name of each author, writer, sender or initiator of each such
document, including their employer and title;

The name of each recipient, addressee or party to whom such document
was sent or intended to be sent, including their employer and title;

The name of each and every person who received a copy of the
document, including their employer and title;

The date of the document or, if no date appears on the document, the
date the document was prepared:

The subject matter of the document sufficient to identify the document;
and

The grounds claimed for withholding the document from discovery (e.g.,
attorney-client privilege, work product, or any other grounds), and the

factual basis for such a claim.

 
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9. All documents responsive to a Request should be produced as they are kept in
the usual course of business or in and with a file folder or other document (e.g., envelope, file
cabinet marker) in or with which the document was located when these Requests were served.

10. Ail documents produced shall be organized and labeled to correspond to the
Request(s} to which they are responsive. Hf a document or other thing is responsive to more
than one Request, it shall be labeled to correspond to the Request to which it is first responsive.

il. These Requests are continuing in nature. If, after responding, you obtain or
become aware of any further documents which are responsive to these Requests, supplementary
production is required.

12. The use of any masculine pronoun herein shall include the feminine and the
neutral, and the use of any neutral pronoun shail include the masculine and the feminine. The
use Of any singular construction shail include the plural, and the use of the plural shail include
the singular.

fii. NOTICE TO PRESERVE COMPUTER DATA

Defendant intends to discover your computer data. Thus, you are to preserve all
electronic data relevant to this litigation and maintain the layout and configuration of your
computer system until the parties reach a complete agreement regarding the preservation of
electronic data. You are prohibited from initiating or performing any activity which would or
might result in the loss of electronic data, e.g., data compression, rotation, destruction, erasure
of data — either on line or off line, defragmenting of any hard drives, and/or purging any
directories relating to this litigation. This Notice applies to you and your agents, employees

and/or representatives’ employees’ computers, ¢.g,, servers, personal computers, mini

 

 

 
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computers, laptop computers, notebook computers, palm computers, personal digital
computers, main frames, or other equipment. You are also directed to maintain your electronic

data storage devices and media, and all activity logs whether made by employees, vendors, or

 

others.
IV. DOCUMENT REQUESTS
i. All Documents or Communications referring or relating to (an) admission(s) or

(a) deciaration(s) against the interest of any party in this Action.

2. Alt Documents or Communications relating to the subject matter of this Action.
3. All Documents or Communications relating to the formation, purpose or

maintenance of Topaze and/or DGBF, including but not limited to articles of incorporation.
shareholder agreements, fiduciary agreements and other documents relating to the formation,
management, ownership, purpose, amendment, participation or termination.

4. All Documents or Communications relating to Topaze and/or DGBF, including
but not limited to: (a) Charles Target’s involvement in Topaze or DGBF, (b) Plaintiff's gifting
or transfer of the Jewelry to Topaze or DGBF or (c) legal invoices, memoranda,
Communications or other Documents relating to Topaze or DGBF.

5. All Communications between Plaintiff and any other person, including but not
limited to William “Tres” Stewart, HI, Gregory Stewart, Bill, Ralph Belfiore, Greta Gallas.
Charles Target, Jeffrey Stewart or Lisa Stewart, regarding: (a) the Jewelry; or (b) any other
matters at issue in this Action.

6. All Documents or Communications relating to the Jewelry, including but not

limited to the purchase, sale, encumbrance, transfer and/or current location of the Jewelry.

 

 

 
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7, Any and all appraisals and/or inventories of any Jewelry.

8. All Documents and Communications relating to insurance payments for Topaze
or DGBPF.

9, All Documents or Communications that support, refer or relate to your

contention that Defendant is/was not the beneficial owner of Topaze and/or DGBF.

10. All Documents or Communications that support, refer or relate to your
contention that Defendant had an obligation to produce documents related to Topaze and/or
DGBF in your divorce proceeding against Bill.

I. All Documents or Communications that support, refer or relate to your
contention that Defendant failed to produce documents related to Topaze and/or DGBF in
connection with your divorce proceeding against Bill.

12. All Documents or Communications that support, refer or relate to your
contention that Plaintiff never disavowed ownership of the Jewelry, as set forth in Paragraph 9
of Plaintiff's Reply to Defendant’s Amended Counterclaims.

13. Al Documents or Communications that support, refer or relate to your
contention that you were unaware of the formation of Topaze and/or DGBF and did not possess
documents related to those entities.

14, All Documents or Communications that support, refer or relate to your
contention that Defendant induced Plaintiff to believe that Defendant would maintain Topaze
and/or DGBF for the benefit of Plaintiff's grandchildren.

15. All Documents or Communications that support, refer or relate to your

contention that Defendant engaged in fraud or concealment.

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16. All Documents or Communications, including but not limited to transcripts and
pleadings, that refer or relate to any litigation proceedings commenced by or against Plaintiff
involving the Jewelry, including but not limited to Plaintiff's divorce proceedings against Bill
or any litigation involving the Trusts.

17. All Documents or Communications which will be identified, introduced as

evidence, explained and/or commented upon at trial by you or your witnesses.

18. All Documents on which you intend to rely on at any hearing or trial in this
Action.

19. Any and all pleadings in any litigation or matter commenced by Plaintiff against
Defendant.

20. All Documents or Communications supporting Plaintiff's alleged damages in

this Action.

24. All Documents evidencing Swiss or U.S. wealth taxes, gift taxes or any other
taxes paid by you, Topaz, DGBF or any other person or entity on the Jewelry.

22. All Decuments or Communications that support your denial of paragraphs 6, 7,

13, 14, 17, 18, 23, 32, 34, 35. 37, 38, 39, 47, 48, 49, 51, 52. 53, 54,

CAs

5, 57, 60, 61, 65, 67, 68,
69 and 70, of Defendant’s Amended Counterclaims.

23. All Documents or Communications that support vour First Affirmative Defense
in response to Defendant’s Amended Counterclaims.

24, All Documents or Communications that support your Second Affirmative

Defense in response to Defendant’s Amended Counterclaims.

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25, All Documents or Communications that support your Third Affirmative Defense
in response to Defendant’s Amended Counterclaims.

26. All Documents or Communications that support your Fourth Affirmative
Defense in response to Defendant’s Amended Counterclaims.

27. All Documents or Communications that support your Fifth Affirmative Defense

in response to Defendant’s Amended Counterclaims.

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

BARBARA STEWART,

Plaintiff, | Civil Action: 1:19-ev-05960 (NRB)

v. PLAINTIFF BARBARA STEWART’S
| _ RESPONSE TO DEFENDANT’S
MICHELE STEWART a/k/a Michele | REQUEST FOR PRODUCTION OF
Bouman-Stewart, DOCUMENTS
Defendant.

 

PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION OF DOCUMENTS

Plaintiff, BARBARA STEWART, by her attornevs Marcus & Cinelli, LLP, responds to
Defendant’s, MICHELE STEWART’S First Request for Production of Documents as follows:

GENERAL OBJECTIONS

 

A. Plaintiff, Barbara Stewart, objects to these demands to the extent they call for
production of documents or information outside the scope of discovery permitted under the FRCP.

B. Plaintiff, Barbara Stewart, objects to the production of amy document or other
material either created by or at the direction of counsel or obtained from other parties or non-parties
through the efforts of counsel, as well as any such material addressed to or from tts attorneys, upon
the ground that such materials are or contain information subject to the attorney/client privilege, the
attorney work product privilege, and/or the privilege for material prepared in anticipation of
litigation. Plaintiff has interpreted these requests to exclude such material. However, should

Plaintiff, Barbara Stewart, inadvertently produce any such material, such production shall in no way

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constitute or be construed as a waiver of these privileges or immunities.

c. Plaintiff. Barbara Stewart, objects to these demands to the extent they call for
production of documents or information which is publicly available, or which is in the possession,
custody, or contro! of other parties to this litigation, or which is equally accessible to other parties.

D. Each of the following responses is subject to these General Objections, whether or not
these General Objections are restated, in whole or in part, in a specific response.

FE. Plaintiff reserves her right to amend and/or supplement his responses up to and
including at the time of trial of this matter.

RESPONSES

i. All documents or Communications referring or relating to (an) admission(s} or (a)
declaration(s) against the mterest of any party in this Action.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, and is overbroad and undwiy burdensome. Plaintiff in particular objects to the
request to the extent it fails to define terms or the scope of the demand and seeks admissions or
“declarations” of all parties. Plaintiff further objects to the extent said documents requested are
already in defendant’s possession. Subject to and without waiving said objections, plaintiff produces
the documents attached herein at Exhibit A (Bates Nos. PLTOOOQOO! to PLTOOOOLL). Plaintiff
further refers defendant to the following documents produced by defendant: Documents Bates Nos.
BoumanOl!?, Bouman0123, Bouman0125, Bouman0134, Bouman01l60, Bouman0l6l,
Boumand166, Bouman0O168-169, Bouman0170, Bouman0173, Bouman0O174, Bouman0183,

Bouman0184, Bouman0 186, Bouman0187, Bouman0191, BournanO208-209 and Boumandi10-

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O1L3.

2. All Documents or Communications relating to the subject matter of this Action.

RESPONSE: Plaintiif objects to this demand on the ground it lacks any reasonable

definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, and is overbroad and unduly burdensome, and seeks material that is not relevant or
related to any issue in this case. This demand also fails to identify the “subject matter” of the action
for which documents are sought. Plaintiff further objects to the extent said documents requested are
already in defendant’s possession.
3. All Documents or Communications relating to the formation, purpose or maintenance of
Topaze and/or DGBF, including but not limited to articles of incorporation, shareholder agreements,
fiduciary agreements and other documents relating to the formation, management, ownership, purpose,
amendment, participation or termination.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related
to any issue in this case. Plaintiff further objects to the extent said documents requested are already
in defendant's possession. Subject to and without waiving said objections, plaintiff 1s not in
possession of any corporate documents of Topaze or DGBF referenced in this demand, and refers
defendant to corporate and business documents for Topaze and DGBF, produced by defendant in its
October 21, 2019 production.

4. Ali Documents or Communications relating to Topaze and/or DGBF, mcluding but not
limited to: (a) Charles Target’s involvement in Topaze or DGBF, (b) Plaintiff's gifting or transfer of the

Jeweiry to Topaze or DGBF or (c) legal invoices, memoranda, Communications or other Documents

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relating to Topaze or DGBF.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related
to anv issue in this case. Plaintiff objects to the term “relating to” as overly broad, ambiguous and
unduly burdensome. Plaintiff further objects to the extent said documents requested are already in
defendant’s possession. Subject to and without waiving said objections, plaintiff produces the
document attached herein at Exhibit B (Bates No. PL.T000012) and documents produced in response
to Demands 8, 9, Li, 13 and 14, infra. Plaintiffalso references document Bouman0199 produced by
defendant in its October 21, 2019 production.

5. All Communications between Plaintiff and any other person, including but not limited to
William “Tres” Stewart, ILL, Gregory Stewart, Bill, Ralph Belfiore, Greta Gallas, Charles Target, Jeffrey
Stewart or Lisa Stewart, regarding: (a) the Jewelry; or (b) any other matters at issue in this Action.

RESPONSE: | Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations. is overbroad and unduly burdensome and seeks material that is not relevant or
related to any issue in this case. Plaintiff objects to reference to and definition of “the jewelry”
which is not limited in time or scope and further objects to reference to “any other matters at issue in
this action” as vague, overly broad and unduly burdensome and seeks material that is not relevant or
related to any issue in this case. Plaintiff further objects to the extent said documents requested are
already in defendant's possession. Subject to and without waiving said obtections, plaintiff produces
herein documents attached at Exhibit C (Bates Nos. PIT000013 to PLT000016).

6. All Documents or Communications relating to the Jewelry, including but not limited to
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the purchase, sale, encumbrance, transfer and/or current location of the Jewelry.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks materiai that is not relevant or
related to any issue in this case. In particular, plaintiff objects to reference to and definition of “the
jewelry” which is not limited in time or scope, not identified in any pleadings submitted by
defendant and accordingly references items not the subject of this action and seeks material that is
not relevant or related to any issue in this case. Plaintiff further objects to the extent said documents
requested are already in defendant’s possession. Subject to and without waiving said objections,
plaintiff refers defendant to documents produced in response to Demand Nos. 5,7, 8 and 12 herein.
7. Any and all appraisals and/or inventories of any Jewelry.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague. ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related
to any issue in this case. In particular, plaintiff objects to reference to and definition of “any
jewelry” which is not limited in time or scope, not identified in any pleadings submitted by
defendant and accordingly references items not the subject of this action. Plaintiff further objects
io the extent said documents requested are already in defendant’s possession. Plaintiff also repeats
and realleges the objections set forth in response to Demand 6, supra. Subject to and without
waiving said objections, plaintiff produces documents attached herein at Exhibit D (Bates Nos.
PLT000017 to PLT000046). Plaintiff also refers to documents produced by defendant on October

21, 2019.

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8. All Documents and Communications relating to insurance payments for Topaze or
DGBF.

RESPONSE: Plaintiff objects to the term “relating to” as overly broad, ambiguous and
unduly burdensome and seeks material that is not relevant or related to any issue in this case.
Subject to and without waiving said objections, plaintiff produces documents attached herein at
Exhibit E (Bates Nos. PLT000047 to PLTOO0053).

9. All Documents or Communications that support, refer or relate to your contention that
Defendant is/was not the beneficial owner of Topaze and/or DGBF.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related
to any issue in this case. In particular, plaintiff objects to the term “beneficial owner” which is not
defined and also may call for a legal conclusion, legal analysis and definition ofa legal term which is
not the proper subject of discovery. Plaintiff objects to the term “refer or relate to” as overly broad,
ambiguous and unduly burdensome. Plaintiff further objects to the extent that this demand fails to
identify where or when plaintiff is alleged to have contended that defendant is or was not the
beneficial owner of Topaze and/or DGBF. Plaintiff further objects to the extent said documents
requested are already in defendant’s possession. Subject to and without waiving said objections,
plaintiff produces documents attached herein at Exhibit F (Bates Nos. PLTOQ00054 to PLT000079),
and refers defendant to documents produced in these responses, including responses to demands 1, 4
and 8 herein.

10. All Documents or Communications that support, refer or relate to your contention that

Defendant had an obligation to produce documents related to Topaze and/or DGBF in your divorce
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proceeding against Bill.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, and is overbroad and unduly burdensome and seeks material that is not relevant or
related to any issue in this case. In particular, plaintiff objects to the term “obligation” which is not
defined and also may call for a legal conclusion, legal analysis and definition ofa legal term which is
not the proper subject of discovery. Plaintiff further objects to the extent that this demand fails to
identify where or when plaintiff is alleged to have contended that defendant was obligated to
produce such documents or the nature of that obligation. Plaintiff further objects to the extent said
documents requested are already in defendant’s possession. Subject to and without waiving said
objections, plaintiff refers defendant to documents produced in response to demand No. |.

Lh. All Documents or Communications that support, refer or relate to your contention that
Defendant failed to produce documents related to Topaze and/or DGBF in connection with your divorce
proceeding against Bul

RESPONSE: Plaintiff produces documents attached herein at Exhibit G (Bates Nos.
PLTO00680 to PLTO60084). Plaintiff further refers to documents produced by defendant, including
documents Bates Nos. Bouman0127, BoumanOi 16, Bouman0153, Bournanf 155-0157, Bournan0 | 60,
Bouman0214-215.

12. All Documents or Communications that support, refer or relate to your contention that
Plaintiff never disavowed ownership of the Jewelry, as set forth in Paragraph 9 of Plaintiff's Reply to
Defendant’s Amended Counterclaims.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable

definition of the information being sought, is vague, ambiguous and capable of multiple

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interpretations, is overbroad and unduly burdensome and seeks materia] that is not relevant or related
to any issue in this case. In particular, this demand seeks documents proving an event that plaintiff
contends never occurred, and as such, is not a proper demand. Plaintiff further objects to the extent
said documents requested are already in defendant’s possession. Subject to and without waiving said
objections, plaintiff produces documents attached herein at Exhibit H (Bates Nos. PLTOOQ085 to
PLT000097). Plaintiff further refers to documents Bates Nos. Bouman0186-187, produced by
defendant.

13. All Documents or Communications that support, refer or relate to your contention that
you were unaware of the formation of Topaze and/or DGBF and did not possess documents related to
those entities.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related
to any issue in this case. In particular, this request demands documents relating to an unspecified
contention that misstates or misconstrues plaintiff's allegations in this case. It seeks documents
regarding a premise that plaintiff does not plead, and as such, is not a proper demand. Plaintiff
further objects to the extent said documents requested are already in defendant's possession. Subject
to and without waiving said objections, Plaintiffrefers defendant to documents produced in response
to demand 1}.

14. All Documents or Communications that support, refer or relate to your contention that
Defendant induced Plaintiff to believe that Defendant would maintain Topaze and/or DGBF for the
benefit of Plaintiffs grandchildren.

RESPONSE. Plaintiff refers to the documents produced and referenced in response to Demand

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1. Plaintiff further references documents Bates Nos. Bouman0082 and Bouman01 10-0113 produced by
defendant.

1S. All Documents or Communications that support, refer or relate to your contention that
Defendant engaged in fraud or concealment.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, and is overbroad and unduly burdensome and seeks material that is not relevant or
related to any issue in this case. In particular, plaintiff objects to the extent this demand calls fora
legal conclusion, legal analysis and definition of a legal term which is not the proper subject of
discovery. Plaintiff further objects to the extent said documents requested are already in defendant's
possession. Subject to and without waiving said objections plaintiff refers to documents produced
by defendant reflecting claims by defendant that she personally owns the jewelry in question, that
said jewelry was transferred at her request and/or knowledge to her personal ownership without
authorization or recognition of her fiduciary duty, and documents produced herein im response to
demands 11 and 12.

16. All Documents or Communications, including but not limited to transcripts and
pleadings, that refer or relate to any litigation proceedings commenced by or against Plaintiff involving
the Jewelry, including but not limited to Plaintiff's divorce proceedings against Bill or any litigation
involving the Trusts.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related

to any issue in this case. Plaintiff further objects to the extent said documents requested are already

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in defendant’s possession.

17. Ali Documents or Communications which will be identified, introduced as evidence,
explained and/or commented upon at trial by you or your witnesses,

RESPONSE: Plaintiff objects to this demand on the ground it is vague, ambiguous and
overbroad and unduly burdensome, and is premature prior to the conclusion of discovery, as the
selection of such documents has not yet been determined. Plaintiff further objects to the extent said
documents requested are already in defendant's possession.

18. All Documents on which you intend to rely on at any hearing or trial in this Action.

RESPONSE: Plaintiff objects to this demand on the ground it is vague, ambiguous and
overbroad and unduly burdensome, and is premature prior to the conclusion of discovery as the
selection of such documents has not yet been determined. Plaintiff further objects to the extent said
documents requested are already in defendant’s possession.

19, Any and all pleadings in any litigation or matter commenced by Plaintiff against
Defendant.

RESPONSE: Plaintiff produces documents attached herein at Exhibit [, Bates Nos.
PLTO00098 to PLTOOO LOS.

20. All Documents or Communications supporting Plaintiff's alleged damages in this Action.

RESPONSE. Plaintiffrefers to documents produced m response to demand No. 7.

aU. All Documents evidencing Swiss or U.S. wealth taxes, gift taxes or any other taxes paid
by you, Topaz, DGBF or any other person or entity on the Jewelry.

RESPONSE: Plaintiff is not in possession of any documents responsive to this demand.

22. All Documents or Communications that support your denial of paragraphs 6, 7, 13, 14,
17, 18, 23, 32, 34, 35, 37, 38, 39, 47, 48, 49, 51, 52, 53, 54, 55, 57, 60, 61, 65, 67, 68, 69 and 70, of

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Defendant’s Amended Countercilaims.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, is overbroad and unduly burdensome and seeks material that is not relevant or related
to any issue inthis case. This demand seeks documents proving events that plaintiff contends never
occurred, and as such, is not a proper demand.

23. All Documents or Communications that support your First Affirmative Defense in
response to Defendant’s Amended Counterclaims.

RESPONSE: Plaintiff objects to this demand on the ground it calls for a legal conclusion
and is therefore not the proper subject of discovery.

24, All Documents or Communications that support your Second Affirmative Defense in
response to Defendant’s Amended Counterclaims.

RESPONSE: Plaintiff objects to this demand on the ground it calls for a legal conclusion
and is therefore not the proper subject of discovery.

25. All Documents or Communications that support your Third Affirmative Defense in
response to Defendant's Amended Counterclaims.

RESPONSE: Plaintiff objects to this dernand on the ground it calls for a legal conclusion
and is therefore not the proper subject of discovery.

26, All Decuments or Communications that support your Fourth Affirmative Defense in
response to Defendant's Amended Counterclaims.

RESPONSE: Plaintiff objects to this demand on the ground it calls for a legal conclusion
and is therefore not the proper subject of discovery.

27. All Documents or Communications that support your Fifth Affirmative Defense in

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response to Defendant’s Amended Counterclaims.

RESPONSE: Plaintiff objects to this demand on the ground it lacks any reasonable
definition of the information being sought, is vague, ambiguous and capable of multiple
interpretations, and is overbroad and unduly burdensome. Defendant does not specify which
elements or ailegations of said affirmative defense it seeks documents. Plaintiff further objects to
the extent said documents requested are already in defendant’s possession. Subject to and without
waiving said objections, plaintiffrefers to documents produced herein in response to Dernands Nos.

1,9, Ll and 12.

DATED: December 13, 2019 MARCUS & CINELLI, LLP

David P. Marcus

Attorneys for Plaintiff

Barbara Stewart

8416 Main Street
Williamsville. New York 14221
Telephone: (716) 565-3800

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OR

 

and

HOGANWILLIG, PLLC
Edward P. Yankelunas, Esq.

2410 North Forest Road, Suite 301
Ambherst, New York 14068
Telephone: (716) 636-7600

Attorneys for Plaintiff Barbara Stewart

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MEYNER AND LANDIS, LLP

David B. Grantz, Esq.

Catherine Pastrikos Kelly, Esq.

One Gateway Center, Suite 2500
Newark, New Jersey 07102

Telephone: (973) 602-3466

Attorneys for Defendant Michele Stewart

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